Case 5:15-cv-06529-.]FL Document 13 Filed 02/12/16 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DENNIS J. LUTZ and SANDRA LUTZ,

His Wife,
Plaintiffs,
vs. Civil Action No. 15-cv-6529
AMIT ARBIND PRASAD, M.D., .
Defendant. JURY TRIAL DEMANDED
RRAEQIRE_'[§LIH.SQQMIHUE

TO: Clerk of Court

Kindly Discontinue the above-captioned matter.

Dated: February 12, 2016 J¢(Q ?£- £`/1/1/4/ o

]LIN R. VIVIAN, JR.
831 Lehigh Street
Easton, PA 18042
(610) 25 8-6625 - Telephone
(610) 258-4875 - Facsimile
I.D. Number: 34459
Attorney for Plaintiffs

